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2                                                      Judge Robert S. Lasnik
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9                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
10                                         AT SEATTLE
11   UNITED STATES OF AMERICA,        )
                                       )               NO.     CR05-270 RSL
12                    Plaintiff,       )
                                       )
13               v.                    )
                                       )               ORDER
14   COLUMBIA MEDICAL SYSTEMS,         )               CONTINUING TRIAL DATE
           INC.,                       )               AND PRETRIAL MOTIONS CUTOFF
15   PHU NGUYEN,                       )               DATE
     TUYET NGUYEN, and                 )
16   SESS MERKE,                       )
                                       )
17                    Defendants       )
     _________________________________)
18

19                                             ORDER
20           THIS MATTER having come before the Court pursuant to a stipulation between
21   the government and the defendants for an Order continuing the trial date and pretrial
22   motions cutoff date; and
23           IT APPEARING that the requested continuance of the trial date is warranted for
24   the reasons set forth in the stipulated motion for continuance of trial date and pretrial
25   motions cutoff date, and that the ends of justice served by the continuance outweigh the
26   best interest of the public and the defendants in a speedy trial.
27

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     ORDER - 1
     Columbia Medical Systems, et. al./
     CR05-270 RSL                                                                  UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
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1            IT IS ORDERED that the trial date in U.S. v. COLUMBIA MEDICAL
2    SYSTEMS, INC., PHU NGUYEN, TUYET NGUYEN and SESS MERKE, CR05-270
3    RSL, be continued from October 3, 2005 to March 6, 2006, and that the deadline for
4    filing pretrial motions be continued until February 2, 2006.
5            IT IS FURTHER ORDERED that the period of delay resulting from the
6    continuance of the trial in excluded for speedy trial purposes under 18 U.S.C. §
7    3161(h)(8)(A) and (B).
8            Dated this 1st day of September, 2005
9                                                     A
10
                                                      Robert S. Lasnik
11                                                    United States District Judge
     Presented by:
12
     /s/Susan Loitz
13

14   Susan Loitz
15   Assistant United States Attorney
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     United States Attorney’s Office
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     700 Stewart Street, Suite 5220
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     Seattle, WA 98101-1271

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     Harvey Chamberlin
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25   Attorney for CMS and Phu Nguyen

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     Everett, Washington 98201-4407
28
     ORDER - 2
     Columbia Medical Systems, et. al./
     CR05-270 RSL                                                                    UNITED STATES ATTORNEY
                                                                                      700 Stewart Street, Suite 5220
                                                                                     Seattle, Washington 98101-1271
                                                                                              (206) 553-7970
              Case 2:05-cr-00270-RSL      Document 42   Filed 09/01/05   Page 3 of 3



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13   Lyle Tenpenny
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     Angelo Calfo
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     ORDER - 3
     Columbia Medical Systems, et. al./
     CR05-270 RSL                                                           UNITED STATES ATTORNEY
                                                                             700 Stewart Street, Suite 5220
                                                                            Seattle, Washington 98101-1271
                                                                                     (206) 553-7970
